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  9                      UNITED STATES DISTRICT COURT
 10                    CENTRAL DISTRICT OF CALIFORNIA
 11                             EASTERN DIVISION
 12
 13 JOSEPH DIAZ, JR.,                       Case No. 5:20-cv-02332-JWH-KK
 14             Plaintiff,                  [PROPOSED] ORDER RE MOTION
                                            FOR PROTECTIVE ORDER
 15       v.
 16 RALPH HEREDIA, true name                Date: June 23, 2022
    RAFAEL HEREDIA TARANGO, a/k/a
 17 RAFAEL HEREDIA, a/k/a RAFAEL            Time: 10:00 a.m.
    BUSTAMANTE; JOHN DOE, ESQ.;             Courtroom: 3 or 4
 18 and JANE DOES 1 through 20,             Judge: Hon. Kenly Kiya Kato
    inclusive,
 19
               Defendants.                  Discovery Cut-Off: July 8, 2022
 20                                         Pre-Trial Conference: November 18, 2022
 21                                         Trial: December 5, 2022

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                                                                   [PROPOSED] ORDER
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                                 #:3984



  1                                         ORDER
  2
  3         The Court, having considered the Plaintiff Joseph Diaz, Jr.’s Motion for Entry
  4 of Protective Order, and having considered all other records on file in this action and
  5 matters properly before it, hereby orders as follows:
  6         (1)   Plaintiff’s Motion for Entry of Protective Order is GRANTED.
  7         (2)   The Court hereby enters the Proposed Protective Order attached as
  8 Exhibit 1.
  9         (3)   Defendants shall pay to Plaintiff the sum of $____________          as
 10 reasonable attorney’s fees pursuant to Federal Rule of Civil Procedure 37(a)(5)(A)
 11 within thirty (30) days of the date of this Order.
 12
 13         IT IS SO ORDERED.
 14
 15 Dated: __________________                 By: ________________________________
 16                                            Honorable Kenly Kiya Kato
                                               United States District Court
 17                                            Central District of California
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                                                                          [PROPOSED] ORDER
